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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

CVENT, INC.,

Plaintiff,

OVH US LLC

11480 Cornmerce Park Drive

Suite 500

Reston, Virginia 20191 :

legal@corp.ovh.us : Case No. 1:18-cv-406
Hon. Liam O’Grady

NAME SILO

1300 E. Missouri Avenue

Suite A-110

Phoenix, Arizona 85014

Royalty INC
Uzimilla JaWanih
DHA P II Karachi,
sindh 76550 PK
uziguj j ar@yahoo.com

CVENTCOIN.COM
uzigujjar@yahoo.com

Verisign, Inc.

12061 Bluemont Way
Reston, VA 20190
info@verisign-grs.com

OVH Group

2 Reu Kellermann
59100 Roubaix
France

Defendants.

 

VERIFIED FIRST AMENDED COMPLAINT

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Plaintiff Cvent, Inc. (“Cvent”) states the following for its First Amended Complaint
against Internet Service Provider OVH US LLC (“ISP” or “OVH US”), Domain Name Registrar
Name Silo (“DNR” or “Name Silo”), Registrant Royalty Inc. (“Registrant” or “Royalty”),
Internet Domain Name CVENTCOIN.COM (“CVENTCOIN.COM), Registry Verisign, Inc.
(“Registry” or “Verisign”), and Internet Service Provider OVH Groupe (“OVH Group”)

(collectively “Defendants”):

INTRODUCTION

This action arises from Defendants’ unlawful scheme to misappropriate Cvent’s
renowned brand name in order to deceive the public and in particular investors in the U.S. and
around the world. In an unlawful attempt to capitalize on Cvent’s reputation for success,
Defendants have constructed a ploy to use Cvent’s trademarked name “CVENT” and its various
related trademarks in an effort to mislead the public and investors so as to raise crypto-assets (so-
called “Cventcoins”) from investors

Cvent owns numerous trademarks registered with the United States Patent and
Trademark Office (the “USPTO”) for the term “CVENT” and marks containing “CVENT”. ln
addition, Cvent owns common law rights to these marks through their extensive and continuous
use in Virginia and other states in the United States. Cvent has spent many years, and substantial
resources, building public confidence and consumer goodwill in these marks.

Defendants are engaging in a willful and concerted campaign to cause the public to
believe falsely that Cvent is the source of Defendants’ products and services, or that such

products and services are endorsed by, or otherwise sponsored by, or associated or affiliated with

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Cvent. Defendants prominently feature the CVENT trademark owned by Cvent, in whole and
without alteration, in countless instances in materials they make publically available on the
Internet, including in offering materials that solicit investment from investors in the United
States and elsewhere.

Unless the CVENTCOIN.COM lnternet Domain Name is transferred to Cvent and
Defendants are preliminarily and permanently enjoined from continuing their intentionally
misleading use of Cvent’s trademarks, they will continue to capitalize unfairly on the goodwill in
Cvent’s marks, deceiving the public so as to solicit fraudulent funds and impair the value of
Cvent’s marks.

NATURE OF ACTION

1. This is an action at law and equity for trademark infringement, false designation
of origin, false advertising, cyber piracy and related wrongs. Cvent’s claims against Defendants
arise under the Trademark Act of 1946, 15 U.S.C. §1051 et seq. (the “Lanham Act”) and the
common law of Virginia.

THE PARTIES

2. Cvent is a corporation organized under the laws of the State of Delaware with a
principal place of business at 1765 Greensboro Station Place, 7th Floor, Tysons Corner, Virginia
22 1 02.

3. Cvent is informed and believes and therefore alleges that Defendant OVH US
LLC is an lnternet Service Provider who has a place of business at 1480 Commerce Park Drive,

Suite 500 Reston, Virginia 20191.

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4. Cvent is informed and believes and therefore alleges that Defendant Name Silo is
a Domain Name Registrar who has a place of business at 300 E. Missouri Avenue, Suite A-110
Phoenix, Arizona 85014.

5. CVENTCOIN.COM is an Intemet Domain Name that was illegally pirated to sell
fictitious crypto currencies.

6 Cvent is informed and believes and therefore alleges that the registrant for the
Intemet Domain Name CVENTCOIN.COM is identified in the domain name record as Royalty
INC Uzimilla Jawanih, DHA P II Karachi, sindh 76550 PK uziguj j ar@yahoo.com Phone:
+92.3125522141. However, Cvent is further informed and believes based on its own
investigation and the investigation of the Treadstone Group and therefore alleges that the zip
code is not valid and that the physical address is missing. In addition, no person or entity has
been located with the names associated With registrant and on further information and belief the
email name also is fictitious In all likelihood the registrant is falsely identified.

7. The Registry for the CVENTCOIN.COM domain name is Verisign, Inc., (see
attached WHOIS Lookup attached as Exhibit 1). Verisign maintains the registry for
CVENTCOIN.COM and its worldwide headquarters is located within this judicial district at
12061 Bluemont Way Reston, VA 20190.

8. OVH Groupe and is an lnternet Service Provider located at 2 Rue Kellerrnann

59100 Roubaix, France.

JURISDICTION ANI) VENUE

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9. This Court has subject matter jurisdiction over the federal claims for trademark
infringement, false designation of origin, false advertising, cyber piracy and related wrongs
under 28 U.S.C. §§ 1331, 1338(a).

10. This Court has personal jurisdiction over the Defendants because Defendants are
specifically targeting their product and services to, and soliciting investment from, consumers in
Virginia. Moreover, the Defendants have conducted significant business in Virginia, and their
actions have knowingly caused harm in Virginia.

11. This Court has In Rem jurisdiction over the CVENTCOIN.COM domain name
pursuant to 15 U.S.C. § 1125(d)(2) at least because the domain name registry for
CVENTCOIN.COM is located in this judicial district.

12. Venue is proper in this district in accordance with 28 U.S.C. § 1391(b) & (c).

FACTS

13. Cvent is a leading cloud-based enterprise event management company. Cvent
offers software solutions to event planners for online event registration, venue selection, and
event management, mobile apps for events, on-site event solutions, e-mail marketing and web
surveys. Cvent provides hoteliers with an integrated technology platform, enabling properties to
increase group business demand through targeted advertising and improve conversion through
proprietary demand management and business intelligence solutions. Cvent’s technology
solutions optimize event management value chain and enable clients to manage meetings and

events.

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14. Since at least at early as May 2000, Cvent has used its inherently distinctive
CVENT mark as a source identifier for its products and services. Cvent is the owner of several
U.S. federal trademark registrations for its CVENT mark. For example, Cvent is the owner of
U.S. federal Trademark Registration Numbers 2,784,562 (Exhibit 2) and 4,742,501 (Exhibit 3).
In addition, Cvent is the owner of the mark CVENT.COM, which is the subject of U.S. federal
trademark Registration Number 2,708,303 (EXhibit 4). The marks are hereinafter referred to
collectively as the “CVENT MARKS”.

15. A yet to be identified John Doe going by, on information and belief, the false alias
Royalty INC Uzimilla Jawanih DHA P II Karachi, sindh 76550 PK uzigujjar@yahoo.com
Phone: +92.3125522141 has been identified as the CVENTCOIN.COM registrant unlawfully
using the CVENT MARKS and Cvent’s reputation as a market leader to cause the public to
believe that Cvent is sponsoring or selling a new cryptocurrency. https://cventcoin.com/
(Exhibit 5)

16. The https://cventcoin.com/ domain is relatively new, created on 2018-02-02.

17. The domain is privacy-protected by PrivacyGuardian. The registrant information
is not publicly available, but has been provided to Plaintiff pursuant to the Court’s Order. The
subject website at cventcoin.com appears to be hosted out of Strasbourg, France with OVH. The
website is running Apache, the Bootstrap web framework, and jquery, but no other CMS or
plugins that Cvent can detect.

18. In response to this Court’s Temporary Restraining Order dated April 10, 2018
defendant Name Silo has disabled the https://cventcoin.com/ Intemet web site and provided the

registrant information set out in this First Amended Complaint.

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19. The site is clearly attempting to pass itself off as part of Cvent. For example, The
Logo is the same logo used by Cvent. In addition, the “tirneline” starts off with events from
Cvent’s history. In addition, the site links to this YouTube video from Cvent’s channel. See
https://www.youtube.com/watch?v=fb9gBKLdlVY. Also, the bottom of the site says
Copyright Cvent, Inc. and uses Cvent’s Headquarters’ address. (Exhibit 5)

20. The site plainly is wrongfully leveraging Cvent’s market name and history,
without authorization, to sell cryptocurrency.

21. On information and belief, the site is engaging in fraud expecting people to buy
coins and trading on Cvent’s good name and operational history. On information and belief, the

Registrant has sold Cvent Coins pursuant to this fraudulent scam.

COUNT ONE
15 U.S.C. §1114 TRADEMARK INFRINGEMENT

22. Cvent repeats and realleges each and every allegation in paragraphs 1- 21 as
though fully set forth herein.

23. Defendants’ use in commerce of the federally registered CVENT MARKS in
connection with the sale and offering for sale of cryptocurrencies is likely to cause confusion,
mistake or deception as to the source, origin, sponsorship or approval of Defendant’s products
and services.

24. Defendants’ use of the federally registered CVENT MARKS as described in the
Complaint constitutes trademark infringement within the meaning of Section 32 of the Lanham

Act, 15 U.S.C. § 1114.

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25. Cvent and the public have been and are being damaged and have or will suffer
economic harm as a result of Defendants’ acts and are likely to continue to be damaged and to

suffer economic harm unless Defendants’ acts are enjoined by the Court.

COUNT TWO:
15 U.S.C. § 1125(a] - Unfair Competition and False Designation of Origin

26. Cvent hereby incorporates and re-alleges paragraphs 1 through 25, above.

27. Defendants’ use of the CVENT MARKS, both individually and in combination, is
likely to cause and, based on Cvent’s information and belief has caused, confusion, mistake or
deception as to the source, origin, sponsorship or approval of Cvent’s products and services.

28. Defendants’ use of the CVENT MARKS constitutes unfair competition and false
designation of origin within the meaning of Section 43(a) of the Lanham Act, 15 U.S.C. §
1125(a).

29. Defendants have acted as described in this Complaint with full knowledge of such
unfair competition and false designation of origin in violation of Section 43(a) of the Lanham
Act, 15 U.S.C. § 1125(a).

30. Defendants have acted as described in this Complaint with the intent to cause
confusion, mistake and deception among the public as to source, origin, sponsorship or approval

of Cvent’s products and services.

31. Cvent and the public have been damaged and have suffered economic harm as a
result of Defendants’ acts, and are likely to continue to be damaged and to suffer economic harm

unless Defendants’ activities are enjoined by this Court.

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COUNT THREE:
15 U.S.C. § ll25(dl - vaemiracY

32. Cvent hereby incorporates and re-alleges paragraphs 1 through 31, above.

33. Defendants registered and use the cventcoin.com domain name with bad faith
intent to profit from Cvent’s CVENT.COM mark, which was distinctive at the time of
registration The cventcoin.com lnternet domain name is coniilsingly similar to Cvent’s CVENT
MARKS and the Defendants have no legitimate rights in the CVENT MARKS.

34. Defendants’ acts as described in this Complaint are in violation of Section 43(d)
ofthe Lanham Act, 15 U.S.C. § 1125(d).

35. Cvcnt and thc public have bccn damaged and have Suffered economic harm as a
result of Defendants’ acts, and are likely to continue to be damaged and to suffer economic harm
unless Defendants’ activities are enjoined by this Court.

36. The named registrant has been sent emails at the email address and notification to
the postal address provided by the registrant to the registrar advising of this action with attached
copies of the temporary restraining order and advised that Cvent is proceeding under the in rem

provision of the cyberpiracy prevention provision of the Lanham Act.

COUNT FOUR:
Va. Code Ann. § 59.1-200 ~- Misrenresentation

37. Cvent hereby incorporates and re-alleges paragraphs 1 through 36, above.
38. Defendants’ acts as described in this Complaint constitute misrepresentation (a) of

goods and services as those of another; (b) of the source, sponsorship, approval or certification of

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goods and services; (c) of the affiliation, connection or association of goods and services; and (d)
that goods or services are of a particular standard, quality and grade; all within the meaning of
the Virginia Consumer Protection Act, Va. Code Ann. § 59.1-200.

39. Defendants have acted as described in this Complaint knowingly and with the
intent to cause the harms described in the previous paragraph.

40. Cvent and the public have been damaged and have suffered economic harm as a
result of Defendants’ acts, and are likely to continue to be damaged and to suffer economic harm

unless Flight 001's activities are enjoined by this Court.

COUNT FIVE:
Common Law Tradcniark Infringemcnt

41. Cvent hereby incorporates and re-alleges paragraphs l through 40, above.
42. Defendants’ acts as described in this Complaint constitute common law trademark

infringement

43. Defendants have acted as described in this Complaint with full knowledge of their

common law trademark infringement

44. Defendants have acted as described in this Complaint with the intent to engage in
common law trademark infringement

45. Cvent and the public have been damaged and have suffered economic harm as a
result of Defendants’ acts, and are likely to continue to be damaged and to suffer economic harm

unless Defendants’ activities are enjoined by this Court.

PRAYER FOR RELIEF

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WHEREFORE, Cvent prays that judgment be entered:

a) Temporarily, preliminarily and permanently enjoining Defendants and
their officers, directors, agents, servants, employees and attorneys and any other persons
in active concert or participation with any of them, and each of their successors and
assigns, from continuing the acts complained of in this Complaint and, more particularly,
that Defendants and such other persons be immediately enjoined and restrained during
this action and permanently thereafter from:

1. Operating or displaying any website content at

https://cventcoin.com;

2. using any of the CVENT MARKS or any colorable imitation of
any of them, in connection with the advertising, promotion, or offering of any
goods or services, the operation of an lnternet website, or as a trade name,
corporate name, company name, lnternet domain name, or other identification of
source or business entity;

3. making false designations of origin, or false or misleading
representations or descriptions regarding affiliation, connection, sponsorship or
association of or between Defendants and Cvent or any of its related or affiliated
entities;

4. further infringing the CVENT marks;

5. further acts of unfair competition against Cvent.

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b) declaring (i) that Defendants’ use of the CVENT mark violates 15 U.S.C.
§ 1114, (ii) that Defendants’ use of the CVENT mark violates 15 U.S.C. § 1125(a) and
Va. Code Ann. § 59.1-200 and constitutes common law trademark infringement, (iii)
Defendants’ use of the CVENT mark violates 15 U.S.C. § 1125(c), (iv) that Defendants’
registration and use of the www.cventcoin.com lnternet domain name violates 15 U.S.C. §
ll25(d), and (v) that the nature of Defendants’ acts has been willful and wanton and that
such acts present "exceptional circumstances" within the meaning of Section 35(a) of the
Lanham Act, 15 U.S.C. § 1117(a);

c) Ordering Defendants to disclose the name of the registrant of the
cventcoin.com domain name and all information known about this registrant;

d) ordering Defendants, pursuant to Section 36 of the Lanham Act, 15 U.S.C.
§ 1118, to deliver up for destruction all products, labels, signs, prints, packages, wrappers,
receptacles and advertisements in its actual or constructive possession that bear any of the
CVENT marks or any colorable imitation of` any of them;

e) ordering Defendants to account for and pay over to Cvent all profits
derived by Defendants by reason of its acts of trademark infringement, unfair competition,
false designation of origin, cyberpiracy and misrepresentation in accordance with 15
U.S.C. § 1117(a) and the laws of Virginia, and Cvent asks that this profits award be
trebled in accordance with 15 U.S.C. § 1117(a);

f) ordering Defendants to account for and pay over to Cvent all damages
incurred by Cvent by reason of Defendants acts of trademark infringement, unfair

competition, false designation of origin, cyberpiracy and misrepresentation in accordance

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with 15 U.S.C. § 1117(a) and the laws of Virginia, and Cvent asks that this damages
award be trebled in accordance with 15 U.S.C. § 1117(a);

g) ordering Defendants to provide an accounting of all sales made on or
through the cventcoin.com Website.

h) ordering Defendants to transfer the registration for the cventcoin£om
domain name to Cvent;

1. ordering Defendants to file with the Court and serve on Cvent,
within thirty days of entry of an injunction, a report in writing under oath setting
forth in detail the manner and form in which Defenants have complied with the
injunction and order for which Pan Ani prays, above;

2. granting Cvent its attorney's fees pursuant to Section 35 of the

Lanham Act, 15 U.S.C. § 1117;

3. granting Cvent the costs of the action; and
4. granting Cvent such further relief as this Court may deem just and
equitable.
Dated: April 12, 2018

Alexandria, Virginia

Respectfully submitted,

DICKINSON WRIGHT PLLC

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By: /s/

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Cvent Inc.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

ALE)LANDRIA DIVISION

 

CVENT, INC.,

OVH US LLC

11480 Commerce Park Drive
Suite 500

Reston, Virginia 20191
legal@corp.ovh.us,

and

NAME SILO

1300 E. Missouri Avenue
Suite A-l 10

Phoenix, Arizona 85014,

and

JOHN DOE

Plaintiff`,

Case No

 

Defendants.

 

VERIFICATION

I am Lawrence Samuelson, SVP, General Counsel, of Cvent, Inc. I am authorized to
make this verification on its behalf. I have read the foregoing Verified First Amended Complaint
and am informed and believe that the matters stated therein are true and correct to the best of my
knowledge and belief. I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

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Execute is 12th day of April 2018.

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